Case 5:22-cv-01549-CAS-SHK Document 1-1 Filed 09/01/22 Page 1 of 27 Page ID #:8




                             EXHIBIT “A”
    Case 5:22-cv-01549-CAS-SHK Document 1-1 Filed 09/01/22 Page 2 of 27 Page ID #:9
                          Electronically FILED by Superior Court ofCalifrjrnia, County of Riverside on 06/1612022 09:09 AM
             Case Number CVRI2200775 0000024564216 - IIV. Saml.!el H%il1rir;k: Jr., Executive OfficerlClerk of the Court By il.rnia Brown, Clerk
                                                                                                                                                    SUM-100
                                            SUMMONS                                                                           FOR COURT USE ONL Y
                                                                                                                          (SOLO PARA usa DE LA CORTE)
                                   (CITA CION JUDICIAL)
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
 CASTLE PARK, a business entity, form unknown; PALACE ENTERTAINMENT HOLDINGS, LLC; CENTAUR
 HOLDINGS UNITED STATES, INC. WHICH WILL DO BUSINESS IN CALIFORNIA AS PALACE ENTERTAINMENT;
 FESTIVAL FUN PARKS II c, AiJQ DOES 1 through 100, inclusive
yOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):
Piper Johnson, a minor by and through guardian ad litem, Lindsay Johnson

NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.         '
   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www.courtinfo.ca.gov/selfhelp). your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
be taken without further waming from the court.
   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp). or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
iA VISO! Lo han dernandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su version. Lea la informacion a
conlinuacion.
   Tiene '30 DfAS DE CALENDARIO despues de que Ie entreguen esta citacion y papeles legales para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia al demandante. Una carta 0 una lIamada telefonica no 10 protegen. Su respuesta por escrito liene que estar
en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formula rio que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la corte y mas informacion en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov). en la
biblioteca de leyes de su condado 0 en la corte que Ie quede mas cerca. Si no puede pagar la cuota de presentacion, pida al secretario de la corte que
Ie de un formulario de exencion de pago de cuotas. Si no presenta su respuesta a liempo, puede perder el caso por incumplimiento y la corte Ie podra
quitar su sueldo, dinero y bienes sin mas advertencia.
   Hay otros requisitos legales. Es recomendable que lIame a un abogado inmediatamente. Si no conoce a un abogado, puede lIamar a un servicio de
remision a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el silio web de California Legal Services,
(www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) 0 poniendose en contacto con la corte 0 el
colegio de abogados locales. AVISO: Por ley, la corte liene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquier recuperacion de $10,0000 mas de valor recibida mediante un acuerdo 0 una concesion de arbitraje en un caso de derecho civil. Tiene que
pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
The name and address of the court is:                                                         CASE NUMBER: (Numero del Caso).·
(EI nombre y direcci6n de la corle es): Riverside                                              CVR12200775
4050 Main Street                                                                            I
Riverside, CA 92501
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (EI nombre, la direcci6n y el numero
de telefono del abogado del demandante, 0 del demandante que no tiene abogado, es):
Kelly M. Hatfield, Esq., SWEET JAMES LLP, 4220 Von Karman Ave., Ste. 200, Newport Beach, CA 92660, (949) 644-1000
DATE:                                                                                    Clerk, by                                                   , Deputy
(Fecha)                  06116/2022                                                      (Secretario)                                                (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).}
(Para prueba de entrega de esta citati6n use el formulario Proof of Service of Summons, (POS-O 10)).
                                  NOTICE TO THE PERSON SERVED: You are served
 [SEAL]
                                       1.   D      as an individual defendant.
                                       2.   D      as the person sued under the fictitious name of (specify):

                                       3.   00 on behalf of (specify): Festival         Fun Parks, LLC
                                            under:D CCP 416.10 (corporation)                                D      CCP 416.60 (minor)
                                                    D CCP 416.20 (defunct corporation)                      D      CCP 416.70 (conservatee)
                                                    D CCP 416.40 (association or partnership)               D      CCP 416.90 (authorized person)

          GC68150(g)                                  other (specify):   form unknown
                                       4.      by personal delivery on (date):     .-       (j'  7-         L,.,                                        Pa e 1011
Form Adopted for Mandatory Use                                                                                                Code of Civil Procedure §§ 412.20, 465
Judicial Council of California
                                                                       SUMMONS                                                                   www.courls.ca.gov
SUM-lOa [Rev. July 1, 2009]
          Case 5:22-cv-01549-CAS-SHK Document 1-1 Filed 09/01/22 Page 3 of 27 Page ID #:10
                                                                                       (';M-tJ1U
   ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, 5/0/0 BDr numbar, and addross):
                                                                                                                                                         FOR COUR T USE ONLY
  KeHy M. Hatfield, Esq. (SBN 336377)                    Electronically FILED IlY SupMo!' Court ot Callfcr                           la. Countf of Riverside on 02(2212022 Ot :34 PM
  SWEET JAMES, LLP                         Case ~Iumber CVRI~200775 OOd0012707024 - W. Samuel Ha                                     rick Jr" Executive Officer/Clerk ollhe Court By Brlgit Prado. Cler
  4220 Von Karman Ave., Suite 200, Newport Beach CA 92660
                   TELEPHONE NO.:             (949) 644-1000                    FAX NO. (Opllon1l1):   (949) 644-1005
          ATTORNEY FOR (Name):                Plaintiff, PIPER JOHNSON
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
   STREET ADDRESS: 4050 Main Street
    MAILING ADDRESS:
  CITY AND ZIP CODE:                   Riverside, CA 92501
            BRANCH NAME:               Historic Courthouse
  CASE NAME:
   Johnson v. Castle Park, et al.
               CIVIL CASE COVER SHEET                                             Complex Case Designation                           CASE NUMBER:

  CKJ            Unlimited
                 (Amount
                                                  D      Limited
                                                         (Amount
                                                                               D        Counter                o       Joinder
                                                                                                                                                           C'v'RI2200775


                                                                              Filed with first appearance by defendant               JUDGE:
                 demanded                                demanded is
                                                                                  (Cal. Rules of Court, rule 3.402)
                                                                                                                  DEPT.:
                 exceeds $25,000)                        $25,000)
                                                          Items 1-6 below must be completed (see instructions on page 2).
    1. Check' one box below for the case type that best describes this case:
            Auto Tort                                                     Contract                                               Provisionally Complex Civil Litigation
           o            Aulo (22)                                         0           Breach of contract/warranty (06)           (Cal. Rules of Court, roJes 3.400--3.403)
           o      Uninsured motorist (46)                                             Rule 3.740 collections (09)                D      AntitrustfTrade regulation (03)
            Other PIIPDIWD (Personallnjury/Property                       D           Other collections (09)                     D Construction defect (10)
            DamagelWrongful Death) Tort
                                                                                      Insurance coverage (1S)                    D        Mass tort (40)
                        Asbestos (04)
                                                                                Other contract (37)
                                                                                                                                 D        Securities litigation (28)
           D            Product liability (24)
                                                                          Real Property                                                Environmentalrroxic tort (30)
           D            Medical malpractice (45)
                                                                         Eminent domainJlnverse
                                                                                                                                       Insurance coverage claims arising from the
                                                                                                                                       above listed provisionally complex case
           [KJ    Other PIIPDIWD (23)                                    condemnation (14)
                                                                                                                                       types (41)
            Non-PIIPDIWD (Other) Tort                                    Wrongful eviction (33)                                  Enforcement of Judgment
           o            Business tort/unfair business practice (07)      Other real property (26)                                D     Enforcement of judgment (20)
           D            Civil rights (OS)                           Unlawful Detainer
                                                                                                                                 Miscellaneous Civil Complaint
           o            Defamation (13)                                   D           Commercial (31)
                                                                                                                                          RICO (27)
           D            Fraud (16)                                                    Residential (32)
                                                                                                                                          Other complaint (not specified above) (42)
                        Intellectual property (19)                        D           Drugs (38)
                                                                                                                                 Miscellaneous Civil Patition
                        Professional negligence (25)                      Judicial Review
           o     Other non-PIIPDIWD tort (35)                             D           Asset forfeiture (05)
                                                                                                                                          Partnership and corporate governance (21)

            Employment                                                    0           Petition re: arbitration award (11)                 Other petition (not specified above) (43)
           D            Wrongful termination (36)                         [       l   Writ of mandate (02)
                        Other employment (15)                             0           Other judicial review (39)
  2. This case         is            D
                                    is not          0
                                             complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
    factors requiring exceptional judicial management:
    a.        Large number of separately represented parties       d.        Large number of witnesses     0
    b. D      Extensive motion practice raiSing difficult or novel e.        Coordination                  o
                                                                                           with related actions pending in one or more
              issues that will be time-consuming to resolve                  courts in other counties, states, or countries, or in a federal
    c.        Substantial amount of documentary evidence                     court
                                                                   f.                                      [=:J
                                                                             Substantial postjudgment judicial supervision
 3. Remedies sought (check alf that apply): a. IT] monetary b.                                         0
                                                                           nonmonetary; declaratory or injunctive relief C.          punitive                                    0
 4. Number of causes of action (specify): (1) Negligence (2) Negligence - Premises Liability
  5.         This case               D       is     0     is not    a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: February 18, 2022
Kelly M. Hatfield, Esq.
                                             (TYPE OR PRINT NAME)                                                                       (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY
                                                                                                 NOTICE
     • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
       under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
       in sanctions.
     • File this cover sheet in addition to any cover sheet required by local court rule.
     • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
       other parties to the action or proceeding.
     o Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistiC-Ali purposes only.
                                                                                                                   .                                                                         Pago 1 of 2

Form Adopled for Mandatory Usc                                                                                                             Cal. Rules of Court. rules 2.30. 3.2:10. 3.40D-3.403, 3.740;
Judicial Council of California                                                CIVIL CASE COVER SHEET                                               Cal. Siandards of Judicial Administration. std. 3.10
,....,.   n~n. 10" ..   1•• 1•• "   "1""""                                                                                                                                         ........ ,.." .. .J ........ ,.. ......
    Case 5:22-cv-01549-CAS-SHK Document 1-1 Filed 09/01/22 Page 4 of 27 Page ID #:11

                             INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                              CM·010
To Plaintiffs and Others Filing First Papers. If you are filing a first''Paper (for example, a complaint) in a civil case, you must
complete and file. along with your first' paper. the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1.
check the more specific one. If the case has multiple causes of action. check the box that best indicates the primary cause of action.
To assist you in completing the sheet. examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel. or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined asan action for recovery of money owed
in a sum stated to be certain that is not more than $25.000. exclusive of interest and attorney's fees. arising from a transaction in which
property. services. or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property. (4) recovery of personal property. or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-far-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3,740.
To Parties in Complex Cases. In complex cases only. parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court. this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff deSignates a case as complex. the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs deSignation, a counter-designation that the case is not complex, or, if the plaintiff has made no deSignation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
  Auto Tort                                      Contract                                          Provisionally Complex Civil Litigation (Cal.
     Auto (22}-Personallnjury/Property               Breach of ContractlWarranty (06)              Rules of Court Rules 3.400-3.403)
            DamageJWrongful Death                        Breach of Rental/Lease             ,             AntitrustlTrade Regulation (03)
        Uninsured Motorist (46) (if the                       Contract (not unla,:,,~! detamer            Construction Defect (Hi)
         case involves an uninsured                               or wrongful eViction)                   Claims Involving Mass Tort (40)
         motorist claim subject to                       Contrac.tJVYarranty Breach-Se,"er                Securities Litigation (28)
         arbitration check this item                          Plalnllff (not fraud or negligence)         Environmentalrroxic Tort (30)
                    0;
         instead Auto)                                   Negligent Breach of ContracU                     Insurance Coverage Claims
  Other PI/PDIWD (Personal Injury!                            Warranty                                          (arising from provisionally complex
  Property DamagelWrongful Death)                        Other Breach of ContractlWarranty                      case type lis/ed above) (41)
  Tort                                               Collections (e,g,. money owed. open           Enforcement of Judgment
      Asbestos (04)                                      book accounts) (09)                           Enforcement of Judgment (20)
          Asbestos Property Damage                       Collection ~ase-Seller Plaintif:                  Abstract of Judgment (Out of
          Asbestos Personal Injury/                      Other Promissory Note/Collections                       County)
                 Wrongfut Death                               Case                     ..              Confession of Judgment (non-
       Product Liability (not asbestos or            Insurance Coverage (not provIsionally                  domestic relations)
           toxic/environmental) (24)                     complex) (18) .                               Sister State Judgment
      Medical Malpractice (45)                           Auto SubrogaiJon                              Administrative Agency Award
            Medical Malpraclice-                         Other Coverage                                    (not unpaid taxes)
                  Physicians & Surgeons              Other Contract (37)                                Petition/Certification of Entry of
      Other Professional Health Care                     Contractual Fraud                                  Judgment on Unpaid Taxes
               Malpractice                               Other Contract Dispute                         Other Enforcement of Judgment
      Other PIIPDI\ND (23)                       Real P~operty        .                                       Case
            Premises Liability (e,g" slip            Eminent Domaln/lnverse                        Miscellaneous Civil Complaint
                  and fall)                              Condem.na.tion (14)                            RICO (27)
            Intentional Bodily Injury/PDJWD         Wrongful EViction (33)           ..                 Other Complaint (not specified
                   (e.g., assault. vandalism)       Other ~eal Propert~ (e.g" qUiet title) (26)              abpve) (42)
            Intentional Inftiction of                   Wnt of Possession of Real Property                   Declaratory Relief Only
                  Emotional Distress                     Mortgage Foreclosure                                Injunctive Relief Only (non-
            Negligent Innietion of                      Quiet Title                      .                        harassment)
                   Emotional Distress                   Other Real Property (not emment                      Mechanics Lien
            Other PI/PDIWD                              domain. landlord/tenant, or                          Other Commercial Complaint
  Non.PIIPDIWD (Other) Tort                             foreclosure)                                              Case (non·fortlnon-complex)
      BUSiness TorUUnfair Business               Unlawful Detainer                                           Other Civil Complaint
          Practice (07)                             Con;mer?ial (31)                                              (non-tortlnon-complex)
      Civil Rights (e.g .• discrimination.          Resldenlial ~32)           .        .         Miscellaneous Civil Petition
             false arrest) (not civil               Drugs (38) (Ifth.e ?ase mvolve~ /llegal            Partnership and Corpora Ie
             harassment) (08)                       drugs, check thiS It~m; othe~/se, ,                     Governance (21)
      Defamation (e.g" slander, libel)              report as CommerclBl or ReSidential)               Other Petition (not specified
              (13)                              Judicial Review                                             above) (43)
      Fraud (16)                                    As~~t Forfeiture, (05)                                  Civil Harassment
      Intellectual Property (19)                    Pe~ltlon Re: Arbitration Award (11)                    Workplace Violence
      Professional Negligence (25)                  Wnt of.Manda,t~ (02).                                  Elder/Dependent Adult
          Legal Malpractice                             Wr~t-Admlnlstratlve ~a~damus                             Abuse
          Other Professional Malpractice                Wnt-Mandamus on Limited Court                      Election Contest
                (not medical or legal)                     Case Matler                                     Petition for Name Change
      Other Non.PIIPDJWD Tort (35)                      Writ-Other Limited Court Case                      Petition for Relief From Lale
 Employment                                                Review                                                Claim
      Wrongful Termination (36)                     Other Judicial Review (39)                             Other Civil Petition
      Other Employment (15)                             Review of Health Officer Order
                                                        Notice of Appeal-Labor
                                                              Commissioner Appeals
eM·01O [Rov, July 1, 2001)                                                                                                               Pogo 2 of 2
                                                        CIVIL CASE COVER SHEET
Case 5:22-cv-01549-CAS-SHK Document 1-1 Filed 09/01/22 Page 5 of 27 Page ID #:12
                           Electronically FILED by Superior Court of California, County of Riverside on 0212212022 01 :34 PM
              Case Number CVRI2200775 0000012707023 - W. Samuel Hamrick Jr., Executive Officer/Clerk of the Court By Brigit Prado, Clerk




    1 SWEET JAMES, LLP
      Kelly M. Hatfield (SBN 336377)
    2 4220 Von Karman Avenue, Suite 200
    3 Newport Beach, CA 92660
      Tel:   (949) 644-1000
    4 Fax: (949) 644-1005
      kellyh@sweetjames.com
    5 dianao@sweeljames.com
    6 service@sweetjames.com

    7 Attorneys for Plaintiff

    8                            SUPERIOR COURT OF THE STATE OF CALIFORNIA

    9                    FOR THE COUNTY OF RIVERSIDE - HISTORIC COURTHOUSE

   10 PIPER JOHNSON, a minor by and through                                   Case No.:        CVRI2200775
   11 guardian ad litem, Lindsay Johnson,
                                                                              PLAINTIFF'S COMPLAINT FOR
   12                                Plaintiff,                               DAMAGES

   13   vs.                                                                   1.    NEGLIGENCE
                                                                              2.    NEGLIGENCE: PREMISE LIABILITY
   14   CASTLE PARK, a business entity, form
        unknown; PALACE ENTERTAINMENT
   15   HOLDINGS, LLC; CENTAUR HdLDINGS                                       DEMAND FOR JURY TRIAL
   16   UNITED STATES, INC. WHICH WILL DO
        BUSINESS IN CALIFORNIA AS PALACE
   17   ENTERTAINMENT; FESTIVAL FUN PARKS,
   18   LLC; and DOES 1 through 100, inclusive,

   19                                 Defendants.

   20

   21
                 COMES NOW, Plaintiff PIPER JOHNSON, a minor by and through guardian ad
   22
   23   litem Lindsay Johnson ("PLAINTIFF"), and hereby alleges as follows against Defendants

   24   CASTLE _PARK,               a business entity, form                     unknown;          PALACE           ENTERTAINMENT

   25   HOLDINGS, LLC; CENTAUR HOLDINGS UNITED STATES, INC. WHICH WILL DO

   26   BUSINESS IN CALIFORNIA AS PALACE ENTERTAINMENT; FESTIVAL FUN PARKS,

   27   LLC; and DOES 1 through 100, inclusive, and each of them, ("DEFENDANTS") as follows:

   28   ///

                                                        COMPLAINT FOR DAMAGES
                                                                   1
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    1                                   I.       FACTUAL SUMMARY

    2          1.     On or about July 21, 2019, PLAINTIFF was on the premises of CASTLE

    3   PARK, located at 3500 Polk Street, in the city of Riverside, County of Riverside, State of

    4   California ("SUBJECT PREMISES").

    5          2.     Defendants PALACE ENTERTAINMENT HOLDINGS, LLC, CENTAUR

    6   HOLDINGS UNITED STATES, INC. WHICH WILL DO BUSINESS IN CALIFORNIA AS

    7   PALACE ENTERTAINMENT, and FESTIVAL FUN PARKS, LLC owns, controls, and

    8   operates CASTLE PARK at the SUBJECT PREMISES.

    9          3.     At that place and time, PLAINTIFF was on a playground at the SUBJECT

   10   PREMISES when she fell and hit her face on an exposed bolt and as a result has suffered

   11   serious economic and noneconomic damages ("SUBJECT INCIDENT").

   12          4.     At the time of the SUBJECT INCIDENT, the SUBJECT PREMISES did not

   13   have any posted warnings regarding the exposed bolt, there was no active effort being

   14   made to repair the condition of the bolt, and no verbal warnings were provided to patrons

   15   of the risk of injury. Moreover, there was no barrier established to prevent patrons from

   16   entering the area where the condition existed.

   17                                           II.   PARTIES

   18          5.     PLAINTIFF is a minor residing in the County of Riverside, California.

   19          6.     Defendant CASTLE PARK is, and was at all relevant times herein, a

   20   business entity, form unknown.

   21          Defendant PALACE ENTERTAINMENT HOLDINGS, LLC is, and was at all relevant

   22   times herein, a California limited liability company.

   23          Defendant CENTAUR HOLDINGS UNITED STATES, INC. WHICH WILL DO

   24   BUSINESS IN CALIFORNIA AS PALACE ENTERTAINMENT is, and was at all relevant

   25   times herein, a California corporation.

   26          Defendant FESTIVAL FUN PARKS, LLC is, and was at all relevant times herein, a

   27   California limited liability company.

   28          7.     The true names and/or capacities, whether individual, corporate, associate

                                             COMPLAINT FOR DAMAGES
                                                        2
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    1 or otherwise, of Defendant DOES 1 through 100, inclusive, and each of them, are

    2   unknown to PLAINTIFF, who therefore sues said defendants by such fictitious names.

    3   PLAINTIFF is informed and believes, and upon such information and belief alleges, that

    4   each of the defendants fictitiously named herein as a DOE is legally responsible,

    5   negligently or in some other actionable manner, for the events and happenings hereinafter

    6   referred to, and proximately caused the injuries and damages to PLAINTIFF hereinafter

    7   alleged. PLAINTIFF will seek leave of Court to amend this Complaint to assert the true

    8   names and/or capacities of such fictitiously named defendants when the same have been

    9   ascertained.

   10         8.       PLAINTIFF is informed and believes, and thereupon alleges, that at all times

   11   mentioned herein, Defendants, and each of them, including DOES 1 through 100, were

   12 the agents, servants, employees and/or joint ventures of their co-Defendants, and were,

   13   as such, acting within the course, scope and authority of said agency, employment and/or

   14 joint venture, and that each and every Defendant, as aforesaid, when acting as a principal,

   15 was negligent in the selection and hiring of each and every Defendant as an agent,

   16 employee and/or joint venturer.

   17                               III.    JURISDICTION AND VENUE

   18         9.       This Court has jurisdiction over this matter because Defendants CASTLE

   19   PARK, PALACE ENTERTAINMENT HOLDINGS, LLC, CENTAUR HOLDINGS UNITED

   20   STATES,     INC.   WHICH      WILL    DO    BUSINESS    IN    CALIFORNIA    AS    PALACE

   21   ENTERTAINMENT, and FESTIVAL FUN PARKS, LLC are domiciled in the State of

   22 California.
   23         10.      Venue is proper because the SUBJECT INCIDENT took place in the County

   24 of Riverside.
   25                                      FIRST CAUSE OF ACTION

   26                                           NEGLIGENCE

   27                                      (Against All Defendants)

   28         11.      PLAINTIFF incorporates by reference all paragraphs of this complaint, and

                                           COMPLAINT FOR DAMAGES
                                                      3
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    1 repeats all allegations of said paragraphs, as though set forth here in full.

    2          12.    PLAINTIFF     is    informed   and     believes,   and     thereon    alleges,   that

    3   DEFENDANTS acted negligently in the following ways:

    4                 a.     Failing to properly maintain the SUBJECT PREMISES in a safe

   ·5                        manner;

    6                 b.     Failing to adequately supervise the SUBJECT PREMISES;

    7                 c.     Failing to keep the SUBJECT PREMISES free of any safety hazards;

    8                 d.     Failing to adequately repair a known safety hazard at the SUBJECT

    9                        PREMISES.

   10          13.· That DEFENDANTS owed a duty of reasonable care to prevent harm to

   11   PLAINTIFF.

   12          14.    As a direct and proximate result of DEFENDANTS' negligence, PLAINTIFF

   13   has suffered economic and noneconomic damages and harm.

   14                                    SECOND CAUSE OF ACTION

   15                              NEGLIGENCE: PREMISE LIABILITY

   16                                     (Against All Defendants)

   17          15.    PLAINTIFF incorporates by reference all paragraphs of this complaint, and

   18   repeats all allegations of said paragraphs, as though set forth here in full.

   19          16.    PLAINTIFF is informed and believes, and thereon alleges, that at all times

   20   mentioned herein, DEFENDANTS owned and/or controlled the SUBJECT PREMISES

   21   where the SUBJECT INCIDENT occurred during the relevant time period and were

   22   responsible for the maintenance of the SUBJECT PREMISES.

   23          17.    DEFENDANTS          so   negligently    and   carelessly     owned,     possessed,

   24   maintained, operated, supervised, managed, and controlled the aforesaid premises, as to

   25   cause or to permit the said area to be in a dangerous, defective, unsafe, and hazardous

   26   condition, thereby causing the SUBJECT INCIDENT at the SUBJECT PREMISES, and

   27   proximately causing PLAINTIFF's injuries.

   28          18.    That PLAINTIFF was harmed as a direct and                    proximate result of

                                          COMPLAINT FOR DAMAGES
                                                       4
Case 5:22-cv-01549-CAS-SHK Document 1-1 Filed 09/01/22 Page 9 of 27 Page ID #:16




    1 DEFENDANTS' negligent use and maintenance of the SUBJECT PREMISES as
    2 described above.

    3           19.    That DEFENDANTS failed to use reasonable care in keeping the SUBJECT
    4   PREMISES in a reasonably safe condition, and that DEFENDANTS failed to use

    5   reasonable care to discover any unsafe conditions and repair, replace, or give adequate

    6 warning of anything that could be reasonably expected to harm others.

    7           20.    That a condition on DEFENDANTS' property created an unreasonable risk of

    8   harm, that DEFENDANTS created the dangerous condition, and/or knew or, through

    9 exercise of reasonable care, should have known about the condition, and that

   10   DEFENDANTS failed to repair the condition, protect against harm from the condition,

   11   and/or give adequate warning of the condition.

   12           21.    That DEFENDANTS had sufficient time to discover the unsafe condition,

   13   repair the condition, protect against harm from the condition, and/or adequately warn of

   14 the condition.

   15           22.    That the dangerous condition of the SUBJECT PREMISES on property

   16 owned and controlled by DEFENDANTS was a substantial factor in causing PLAINTIFF's

   17   harm.

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                                        COMPLAINT FOR DAMAGES
                                                    5
    Case 5:22-cv-01549-CAS-SHK Document 1-1 Filed 09/01/22 Page 10 of 27 Page ID #:17




         1                                      PRAYER FOR RELIEF

         2         Wherefore, PLAINTIFF prays for judgment against DEFENDANTS, and each of

         3   them, as follows:

         4          1.     For compensatory and general damages;

         5          2.     For past, current, and future medical expenses;

         6          3.     For costs of suit herein incurred;

         7          4.     For economic losses, in an amount according to proof at trial;

         8          5.     For special and incidental damages according to proof at trial;

         9          6.     For interest upon any judgment entered as provided by law; and

        10          7.     For such other and further relief as the Court may deem proper.

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        14   DATED: February 18, 2022                            SWEET JAMES, LLP

        15

        16                                             By:
        17                                                       Kelly M. Hatfield, Esq.
                                                                 Attorneys for Plaintiff
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                                              COMPLAINT FOR DAMAGES
                                                             6
           Case 5:22-cv-01549-CAS-SHK Document 1-1 Filed 09/01/22 Page 11 of 27 Page ID #:18




                  1                                 DEMAND FOR JURY TRIAL

                  2         PLAINTIFF hereby demands a jury trial on all claims so triable.

                  3
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                  5

                  6   DATED: February 18, 2022                      SWEET JAMES, LLP

                  7

                  8                                           By:
                  9                                                 Kelly M. Hatfield, Esq.
                                                                    Attorneys for Plaintiff
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                                                     COMPLAINT FOR DAMAGES
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Case 5:22-cv-01549-CAS-SHK Document 1-1 Filed 09/01/22 Page 12 of 27 Page ID #:19




             SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                                 Historic Court House
                                         4050 Main Street, Riverside, CA 92501

Case Number:       CVR12200775

Case Name:         JOHNSON vs CASTLE PARK


CASTLE PARK



                                NOTICE OF CASE MANAGEMENT CONFERENCE


 The Case Management Conference is scheduled as follows:


                       Hearing Date                      Hearing Time                       Department
                         08/29/2022                         8:30 AM                        Department 1
               Location of Hearing:
                                       4050 Main Street, Riverside, CA 92501



 No later than 15 calendar days before the date set for the case management conference or review, each party must
 file a case management statement and serve it on all other parties in the case. CRC, Rule 3.725.

 The plaintiff/cross-complainant shall serve a copy of this notice on all defendants/cross-defendants who are named
 or added to the complaint and file proof of service.

 Any disqualification pursuant to CCP Section 170.6 shall be filed in accordance with that section.


             Interpreter services are available upon request. If you need an interpreter, please complete and submit the online
 [Il))!r··   Interpreter Request Form (https:llriverside.courts.ca.govlDivisionsllnterpreterlnfo/ri-in007.pdf) or contact the clerk's
             office and verbally request an interpreter. All requests must be made in advance with as much notice as possible,
             and prior to the hearing date in order to secure an interpreter.


 ~
             Assistive listening systems, computer-assisted real time captioning, or sign language interpreter services are
             available upon request if at least 5 days notice is provided. Contact the Office of the AOA Coordinator by calling
             (951) 777-3023 or TOO (951) 777-3769 between 8:00 am and 4:30 pm or by emailing AOA@riverside.courts.ca.gov
             to request an accommodation. A Request for Accommodations by Persons With Disabilities and Order (form MC-
             410) must be submitted when requesting an accommodation. (Civil Code section 54.8.)
  Case 5:22-cv-01549-CAS-SHK Document 1-1 Filed 09/01/22 Page 13 of 27 Page ID #:20




                                                  CERTIFICATE OF MAILING
      I certify that I am currently employed by the Superior Court of California, County of Riverside, and that I am not a
      party to this action or proceeding. In my capacity, I am familiar with the practices and procedures used in
      connection with the mailing of correspondence. Such correspondence is deposited in the outgoing mail of the
      Superior Court. Outgoing mail is delivered to and mailed by the United States Postal Service, postage prepaid, the
      same day in the ordinary course of business. I certify that I served a copy of the Notice of Case Management
      Conference on this date, by depositing said copy as stated above.


       Dated: 03/02/2022                                        W. SAMUEL HAMRICK JR.,
                                                                Court Executive Officer/Clerk of Court




                                                                    B. Prado, Deputy Clerk·
CI·NOCMC
(Rev. 03106120)
Case 5:22-cv-01549-CAS-SHK Document 1-1 Filed 09/01/22 Page 14 of 27 Page ID #:21




             SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                                 Historic Court House
                                         4050 Main Street, Riverside, CA 92501

Case Number:        CVR12200775

Case Name:          JOHNSON vs CASTLE PARK


PALACE ENTERTAINMENT HOLDINGS, LLC



                                NOTICE OF CASE MANAGEMENT CONFERENCE


 The Case Management Conference is scheduled as follows:


                       Hearil!g Date                     Hearing Time                      Department
                         08/29/2022                         8:30 AM                       Department 1
               Location of Hearing:
                                       4050 Main Street, Riverside, CA 92501



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 ~
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  Case 5:22-cv-01549-CAS-SHK Document 1-1 Filed 09/01/22 Page 15 of 27 Page ID #:22




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      Dated: 03/02/2022                                         W. SAMUEL HAMRICK JR.,
                                                                Court Executive Officer/Clerk of Court




                                                                    B. Prado, Deputy Clerk
CI-NOCMC
(Rev. 03/06/20)
Case 5:22-cv-01549-CAS-SHK Document 1-1 Filed 09/01/22 Page 16 of 27 Page ID #:23




             SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                                  Historic Court House
                                          4050 Main Street, Riverside, CA 92501

Case Number:           CVR12200775

Case Name:             JOHNSON vs CASTLE PARK


CENTAUR HOLDINGS UNITED STATES, INC.



                                 NOTICE OF CASE MANAGEMENT CONFERENCE


 The Case Management Conference is scheduled as follows:

                 .:   ..   Hearing Date                 . Hearing Time' . .'            .•.. DEmartment· ':, :,'.:
                            08/29/2022                      8:30 AM                        Department 1
               Location of Hearing:
                                         4050 Main Street, Riverside, CA 92501



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  Case 5:22-cv-01549-CAS-SHK Document 1-1 Filed 09/01/22 Page 17 of 27 Page ID #:24




                                                  CERTIFICATE OF MAILING
      I certify that I am currently employed by the Superior Court of California, County of Riverside, and that I am not a
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       Dated: 03/02/2022                                        W. SAMUEL HAMRICK JR.,
                                                                Court Executive Officer/Clerk of Court




                                                                    B. Prado, Deputy Clerk
CI·NOCMC
(Rev. 03/06120)
Case 5:22-cv-01549-CAS-SHK Document 1-1 Filed 09/01/22 Page 18 of 27 Page ID #:25




             SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                                 Historic Court House
                                         4050 Main Street, Riverside, CA 92501

Case Number:        CVR12200775

Case Name:          JOHNSON vs CASTLE PARK


FESTIVAL FUN PARKS, LLC



                                 NOTICE OF CASE MANAGEMENT CONFERENCE


  The Case Management Conference is scheduled as follows:


                       Hearing Date                      Hearing Time                       Department
                         08/29/2022                          8:30 AM                       Department 1
                Location of Hearing:
                                       4050 Main Street, Riverside, CA 92501


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  Case 5:22-cv-01549-CAS-SHK Document 1-1 Filed 09/01/22 Page 19 of 27 Page ID #:26




                                                   CERTIFICATE OF MAILING
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       Dated: 03/02/2022                                         W. SAMUEL HAMRICK JR.,
                                                                 Court Executive Officer/Clerk of Court




                                                                     B. Prado, Deputy Clerk
CI·NOCMC
(Rev. 03/06/20)
Case 5:22-cv-01549-CAS-SHK Document 1-1 Filed 09/01/22 Page 20 of 27 Page ID #:27




             SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                                  Historic Court House
                                          4050 Main Street, Riverside, CA 92501

Case Number:        CVR12200775

Case Name:          JOHNSON vs CASTLE PARK


KELLY M. HATFIELD
4220 VON KARMAN AVENUE, SUITE 200
NEW PORT BEACH, CA 92660



                                 NOTICE OF CASE MANAGEMENT CONFERENCE


  The Case Management Conference is scheduled as follows:


                        Hearing Date                      Hearing Time                       Department
                         08/29/2022                          8:30 AM                       Department 1
                Location of Hearing:
                                        4050 Main Street, Riverside, CA 92501



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  Case 5:22-cv-01549-CAS-SHK Document 1-1 Filed 09/01/22 Page 21 of 27 Page ID #:28




                                                  CERTIFICATE OF MAILING
      I certify that I am currently employed by the Superior Court of California, County of Riverside, and that I am not a
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       Dated: 03/02/2022                                        W. SAMUEL HAMRICK JR.,
                                                                Court Executive Officer/Clerk of Court




                                                                    B. Prado, Deputy Clerk
CI·NOCMC
(Rev. 03/06/20)
 Case 5:22-cv-01549-CAS-SHK Document 1-1 Filed 09/01/22 Page 22 of 27 Page ID #:29


Notice has been printed for the following Firm/Attorneys or Parties: CVRI2200775


 CASTLE PARK                                        PALACE ENTERTAINMENT HOLDINGS, LLC


 CENTAUR HOLDINGS UNITED STATES, INC.               FESTIVAL FUN PARKS, LLC


 HA TFlELD, KELLY M.
 4220 VON KARMAN A VENUE, SUITE 200
 NEW PORT BEACH, CA 92660




                                          Page 11 of 11 Pages
  Case 5:22-cv-01549-CAS-SHK Document 1-1 Filed 09/01/22 Page 23 of 27 Page ID #:30



                   SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                                       Historic Court House
                                               4050 Main Street, Riverside, CA 92501

  Case Number:            CVR12200775

  Case Name:              JOHNSON vs CASTLE PARK



                                            NOTICE OF DEPARTMENT ASSIGNMENT

       The above entitled case is assigned to the Honorable Craig Riemer in Department 1 for All Purposes.

       Any disqualification pursuant to CCP section 170.6 shall be filed in accordance with that section.

       The court follows California Rules of Court, Rule 3.1308(a)(1) for tentative rulings (see Riverside Superior Court
       Local Rule 3316). Tentative Rulings for each law and motion matter are posted on the internet by 3:00 p.m. on the
       court day immediately before the hearing at http://riverside.courts.ca.gov/tentativerulings.shtml. If you do not have
       internet access, you may obtain the tentative ruling by telephone at (760) 904-5722.

       To request oral argument, you must (1) notify the judicial secretary at (760) 904-5722 and (2) inform all other
       parties, no later than 4:30 p.m. the court day before the hearing. If no request for oral argument is made by
       4:30 p.m., the tentative ruling will become the final ruling on the matter effective the date of the hearing.

       The filing party shall serve a copy of this notice on all parties.


                   Interpreter services are available upon request. If you need an interpreter, please complete and submit the online
      [Il))~r"     Interpreter Request Form (https:llriverside.courts.ca.govlDivisionsllnterpreterlnfo/ri-in007.pdf) or contact the clerk's
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       Dated: 03/02/2022                                                 W. SAMUEL HAMRICK JR.,
                                                                         Court Executive Officer/Clerk of Court



                                                                        by:   .:~.~~::;y   ,.'
                                                                              B. Prado, Deputy Clerk

CI·NODACY
(Rev. 0211 6/21)
     Case 5:22-cv-01549-CAS-SHK Document 1-1 Filed 09/01/22 Page 24 of 27 Page ID #:31
                                                                            Electronicallv FILED by Superior Court of California, County of Riverside on 0212212022 01 :34 PM
                                                             Case I'Jumber CVR12200775 0000012707026 - W. Samuel HamrlckJr., Executive OfllceriClerk ofthe Court 8y 8rlglt Prado, Clerk
                                                                                                                             ..        ,

                                                                                        SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE

 o                  BANNING 311 E. Ramsey St., Banning, CA 92220                                                         o        MURRIETA 30755-0 Auld Rd., Suite 1226, Murrieta, CA 92563
 o                  BLYTHE 265 N. Broadway, Blythe, CA 92225                                                             o        PALM SPRINGS 3255 E. Tahqultz Canyon Way, Palm Springs, CA 92262
 o                  CORONA 505 S. Buena Vista, Rm. 201, Corona, CA 92882                                                 lEI      RIVERSIDE 4050 Main St., Riverside, CA 92501
 o                  MORENO VALLEY 13800 Heacock St., Ste. D201,
                    Moreno Valley, CA 92553
                                                                                                                                                                                                                   RI-CI032
 ATTORNEY OR PARTY WInIOUT ATTORNEY (Nome. StBt. Bar Numb.r 8nd IIddross)                                                                                                        FO~   covm USE ONleY
 Kelly M. Hatfield, Esq. (SBN 336377)
 SWEET JAMES, LLP
 4220 Von Karman Ave., Suite 200
 Newport Beach CA 92660
                                                        TELEPHONE NO:   (949) 644,1000                  FAX NO. (OpUonal):   (949) 644-1005
     E·MAIL ADDRESS (OpOon.I);                                          KellyH@sweeljames.com
                    ATTORNEY FOR (lVarno):                              Plaintiff

                                                        PLAINTIFF/PETITIONER:



                    DEFENDANT/RESPONDENT:                                                                                                                      CASE NUMBER:
                                                                                                                                                                                        C'-..'RI2200775

                                                                          ---
                                                                                                          CERTIFICATE OF COUNSEL
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                                                    .
 The undersigned certifies that this matter should be tried or heard in the court identified above for the reasons
 specified below:

     o                                                  The action arose in the zip code of:


     o                                                  The action concerns real property located in the zip code of:


     [8]                                                The Defendant resides in the zip code of:                        92505 _ _ _ _ _ _ _ __




 For more information on where actions should be filed in the Riverside County Superior Courts, please refer
 to Local Rule 3115 at www.riverside.courts.ca.gov.


 I certify (or declare) under penalty of perjury under the laws of the State of California that the foregoing is
 true and correct.



     Date February 18, 2022




   Kelly M. Hatfield, Esq.
                    (TYPE OR PRINT NAME OF                               G A TTORNSY 0 PARTY MAKING DECLARATION)                                                  (SIGNA TVRE)

                                                                                                                                                                                                                 Page 1 of1
Approved ror MandatOI)' Uso                                                                                                                                                                                      Local Rule 3117
R"8",lde Supori<lr Court                                                                                    CERTIFICATE OF COUNSEL                                               riYorsido.courts.ca.govlloealfrmsltocalfrms,shtml
RI·Cf032 {Rev. 07/15121)
    Case 5:22-cv-01549-CAS-SHK Document 1-1 Filed 09/01/22 Page 25 of 27 Page ID #:32

                                                                                                       RI-ADR001-INFO



                                      SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                                   www.riverside.courts.ca.gov
                                 Self-represented parties: https:/Iwww.riverside.courts.ca.gov/SelfHelp/self-help.php

                                     ALTERNATIVE DISPUTE RESOLUTION (ADR)-
                                             INFORMATION PACKAGE


                            *** THE PLAINTIFF MUST SERVE THIS INFORMATION PACKAGE
                                      ON EACH PARTY WITH THE COMPLAINT. ***
            What is ADR?
            Alternative Dispute Resolution (ADR) is a way of solving legal disputes without going to trial.
            The main types are mediation, arbitration, and settlement conferences.

            Advantages of ADR:
             M.     Faster: ADR can be done in a 1-day session within months after filing the complaint.
             .!ti   Less e~pensive: Parties can save court costs and attorneys' and witness fees .
             .!ti   More control: Parties choose their ADR process and provider.
             .!ti - Less stressful: ADR is done informally in private offices, not public courtrooms.


             Disadvantages of ADR:
              .!ti No, public trial: Parties do not get a decision by a judge or jury .
              .!ti Costs: Parties may have to pay for both ADR and litigation.

             Main Types of ADR:

             Mediation: In mediation, the mediator listens to each person's concerns, helps them
               evaluate the strengths and weaknesses of their case, and works with them to create a
               settlement agreement that is acceptable to everyone. If the parties do not wish to settle
               the case, they go to trial.

             Mediation may be appropriate when the parties:
              M.    want to work out a solution but need help from a neutral person; or
              .!ti  have communication problems or strong emotions that interfere with resolution; or
              M.    have a continuing business or personal relationship.

            ,Mediation is not appropriate when the parties:
              .!ti  want their public "day in court" or a judicial determination on points of law or fact;
              .!ti  lack equal bargaining power or have a history of physical/emotional abuse.

             Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
                arguments to the person who decides the outcome. In "binding" arbitration the arbitrator's
                decision is final; there is no right to trial. In "non-binding" arbitration, any party can request
                a trial after the arbitrator's decision. The court's mandatory Judicial Arbitration program is
                non-binding.




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    Arbitration may be appropriate when the parties:
     ""-    want to avoid trial, but still want a neutral person to decide the outcome of the case.

    Arbitration is not appropriate when the parties:
     .15.   do not want to risk going through both arbitration and trial (Judicial Arbitration)
     111    do not want to give up their right to trial (binding arbitration)

    Settlement Conferences: Settlement conferences are similar to mediation, but the settlement officer
       usually tries to negotiate an agreement by giving strong opinions about the strengths and weaknesses
       of the case, its monetary value, and the probable outcome at trial. Settlement conferences often
       involve attorneys more than the parties and often take place close to the trial date.

                                 RIVERSIDE COUNTY SUPERIOR COURT ADR REQUIREMENTS
                                       ADR Information and forms are posted on the ADR website:
                                      https://www.riverside.courts.ca.gov/Divisions/ADR/ADR.php

 General Policy:
   Parties in most general civil cases are expected to participate in an ADR process before requesting a
   trial date and to participate in a settlement conference before trial. (Local
   Rule 3200)

 Court-Ordered ADR:
   Certain cases valued at under $50,000 may be ordered to judicial arbitration or mediation. This order is
   usually made at the Case Management Conference. See the "Court-Ordered
   Mediation Information Sheet" on the ADR website for more information.

 Private ADR (for cases not ordered to arbitration or mediation):
    Parties schedule and pay for their ADR process without Court involvement. Parties may schedule
     private ADR at any time; there is no need to wait until the Case Management Conference. See the
    "Private Mediation Information Sheet" on the ADR website for more information.

 BEFORE THE CASE MANAGEMENT CONFERENCE (CMC), ALL PARTIES MUST:
  1. Discuss ADR with all parties at least 30 days before the CMC. Discuss:
       ""- Your preferences for mediation or arbitration.
       &   Your schedule for discovery (getting the information you need) to make good decisions about
           settling the case at mediation or presenting your case at an arbitration.
  2. File the attached "Stipulation for ADR" along with the Case Management Statement, if all parties can
     agree.
  3. Be prepared to tell the judge your preference for mediation or arbitration and the date when you
     could complete it.
                                               (Local Rule 3218)

 RIVERSIDE COUNTY ADR PROVIDERS INCLUDE:
  ""- The Court's Civil Mediation Panel (available for both Court-Ordered Mediation and Private Mediation).
      See https://adr.riverside.courts.ca.gov/Home/CivilMedPanel or ask for the list in the civil clerk's office,
      attorney window.
  ""- Riverside County ADR providers funded by DRPA (Dispute Resolution Program Act):
      Dispute Resolution Service (DRS) Riverside County Bar Association: (951) 682-1015
      Dispute Resolution Center, Community Action Partnership (CAP): (951) 955-4900
      Chapman University School of Law Mediation Clinic (services only available at the court)



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                                     SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
o    BLYTHE 265 N. Broadway, Blythe, CA 92225                                  o   MURRIETA 30755-0 Auld Rd., Murrieta, CA 92563
o    CORONA 505 S. Buena Vista, Rm. 201, Corona, CA 92882                      o   PALM SPRINGS 3255 Tahquitz Canyon Way, Palm Springs, CA 92262
o    MORENO VALLEY 13800 Heacock SI. #0201, Moreno Valley,
                                               CA 92553
                                                                               o   RIVERSIDE 4050 Main St., Riverside, CA 92501
                                                                                                                                                          RI·.dnRno1
                                                                                                                            -Ur< c;uur   u6c UNL'
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name. State Bar Number and Address)




           TELEPHONE NO:                                 FAX NO. (Optional):

 E-MAIL ADDRESS (Optional):

    ATTORNEY FOR (Name):



       PLAINTIFF/PETITIONER:

                                                                                                          CA::;t: NUMt:lt:t<:

  DEFENDANT/RESPONDENT:
                                                                                                          CASE MANAGEMENT CONFERENCE DATE(S):


                                STIPULATION FOR ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                                  (eRe 3.2221; Local Rule, Title 3, Division 2)

     Court·Ordered ADR:
     Eligibility for Court·Ordered Mediation or Judicial Arbitration will be determined at the Case Management
     Conference. If eligible, the parties agree to participate in:
       D     Mediation                   D     Judicial Arbitration (non-binding)

     Private ADR:
     If the case is not eligible for Court-Ordered Mediation or Judicial Arbitration, the parties agree to participate in the
     following ADR process, which they will arrange and pay for without court involvement:
       D     Mediation                   D     Judicial Arbitration (non-binding)
       D     Binding Arbitration         0     Other (describe):

     Proposed date to complete ADR:

    SUBMIT THIS FORM ALONG WITH THE CASE MANAGEMENT STATEMENT.


              (PRINT NAME OF PARTY OR ATTORNEY)                                (SIGNATURE OF PARTY OR ATTORNEY)                               (DATE)
              o     Plaintiff   0   Defendant



              (PRINT NAME OF PARTY OR ATTORNEY)                                (SIGNATURE OF PARTY OR ATTORNEY)                               (DATE)
              o     Plaintiff   0   Defendant



              (PRINT NAME OF PARTY OR ATTORNEY)                                (SIGNATURE OF PARTY OR ATTORNEY)                               (DATE)
              o     Plaintiff   0   Defendant



              (PRINT NAME OF PARTY OR ATTORNEY)                                (SIGNATURE OF PARTY OR ATTORNEY)                               (DATE)
              o     Plaintiff   0   Defendant


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